             Case 8:05-cv-02960-AW Document 2 Filed 11/07/05 Page 1 of 2



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


KELVIN J. MILES, #157867                            *
                   Petitioner,
            v.                                       * CIVIL ACTION NO. AW-05-2960

PRINCE GEORGE’S COUNTY                               *
GOVERNMENT
STATE’S ATTORNEY OFFICE                              *
POLICE DEPARTMENT
                Respondents.                        *
                                                   ***


                                          MEMORANDUM


          A brief overview of Kevin Miles’s writ-filing history in this court is warranted. He has filed

approximately twenty-five federal habeas corpus petitions in this district with regard to his 1979 and 1980

Maryland convictions. The prior petitions were dismissed, either on the merits, as an abuse of the writ,

or as successive.1 Miles was repeatedly informed of the “gatekeeper” requirement for successive petitions

under 28 U.S.C. § 2244(b)(3)(A). The most recent dismissals were entered in November of 2004 and

April of 2005. See Miles v. Warden, Civil Action No. AW-04-3660 and Miles v. Warden, Civil Action

No. AW-05-1139.2

          The instant “Motion for Declaratory Judgment” was received by the Clerk on October 31, 2005.



  1
        Petitioner’s appeals were dismissed by the Fourth Circuit. See Miles v. Rollins, 887 F.2d 1080, 1989
WL 117864 (4th Cir., October 5, 1989); Miles v. Rollins, 927 F.2d 596, 1991 WL 22917 (4th Cir., Feb. 27,
1991); Miles v. Waters, 105 F.3d 647, 1997 WL 1876 (4th Cir., Jan. 7, 1997).
      2
        The United States Court of Appeals for the Fourth Circuit dismissed the appellate filings. See Miles
v. Warden, 2005 WL 900277 (4th Cir. April 18, 2005) (per curiam); In re: Miles, 143 Fed.Appx. 551 (4th Cir.
Sept. 21, 2005) (per curiam).
            Case 8:05-cv-02960-AW Document 2 Filed 11/07/05 Page 2 of 2



Miles moves this court for a “declaratory” finding that: (i) there was no probable cause for his arrest on the

statement of charges; (ii) he was not read his Miranda rights before being questioned; and (iii) his speedy

trial rights were violated. Paper No. 1.

        The form and manner in which Miles presents this Motion for Declaratory Judgment is of no matter.

The cause of action plainly represents yet another dogged attempt to invoke this court’s habeas corpus

jurisdiction in order to overturn Miles’s Maryland convictions. It had been construed as a successive 28

U.S.C. § 2254 petition, which shall be dismissed without prejudice pursuant to 28 U.S.C. §

2244(b)(3)(A). A separate Order follows.




Date: November 7, 2005                                 /s/
                                                  Alexander Williams Jr.
                                                  United States District Judge




                                                      2
